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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:18-CR-3008

vs.
                                              MEMORANDUM AND ORDER
MARY NICOLE KEZIOS,

                  Defendant.

      This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on a Guilty Plea (filing 79) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts the
findings and recommendation of the Magistrate Judge.

      IT IS ORDERED:

      1.   The Magistrate Judge's Findings and Recommendation on a Guilty
           Plea are adopted.
      2.   The defendant is found guilty. The plea is accepted. The Court
           finds that the plea of guilty is knowing, intelligent, and voluntary,
           and that a factual basis exists for the plea.
      3.   The Court defers acceptance of any plea agreement until the time
           of sentencing, pursuant to Fed. R. Crim. P. 11(c)(3). Unless
           otherwise stated at the time of sentencing, any plea agreement will
           be deemed accepted upon the pronouncement of the judgment and
           sentence.
      4.   This case shall proceed to sentencing.

      Dated this 25th day of January, 2019.

                                          BY THE COURT:


                                          John M. Gerrard
                                          Chief United States District Judge
